            CASE 0:19-cv-02568-TNL Doc. 209 Filed 09/06/22 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


 Anuj Thapa,
                                                         Case No. 19-cv-2568 (TNL)
               Plaintiff,

 v.

 St. Cloud Orthopedic Associates, Ltd.,                          ORDER


                Defendant.


       This matter is before the Court on the parties’ Stipulation to Hold Post-Trial Motions

in Abeyance, ECF No. 207.

       Based on all the files, records, and proceedings herein, IT IS HEREBY

ORDERED THAT:

       1.      The parties timely filed post-trial motions and the Court previously held

Plaintiff’s post-trial motions and Defendant’s motions related thereto in abeyance pending

resolution of Defendant’s post-trial motion;

       2.      Defendant’s post-trial motion, and all proceedings related to the pending

post-trial motions, including any determination or ruling on the motions, are stayed and

held in abeyance until such time as otherwise ordered;

       3.      Enforcement of the judgment entered on May 17, 2022, is stayed until the

resolution of Plaintiff’s declaratory judgment action or further order of the Court;

       4.      That accrual of pre-verdict and post-judgment interest shall be suspended

during the pendency of the declaratory judgment action or further order of the Court;


                                               1
           CASE 0:19-cv-02568-TNL Doc. 209 Filed 09/06/22 Page 2 of 2




      5.     The September 13, 2022, hearing on Defendant’s post-trial motion is hereby

postponed until such a time as otherwise ordered; and

      6.     On or shortly before October 21, 2022, the parties shall submit a joint

letter to the Court indicating the status of the case.



Date: September    6 , 2022                           s/Tony N. Leung
                                                Tony N. Leung
                                                United States Magistrate Judge
                                                District of Minnesota

                                                Thapa v. St. Cloud Orthopedic
                                                Associates, Ltd.
                                                Case No. 19-cv-2568 (TNL)




                                            2
